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SUPERIOR COURT OF WASHINGTON FOR KLICKITAT COUNTY

TOOTH ACRES, LLC, a Washington limited —_) .
liability company; GENE SCHEEL, an ) Noe 0-2- 00 074- 20
individual, )
) COMPLAINT
Plaintiffs,

VS.

HOODSTOCK RANCH, LLC, a Washington
limited liability company; MARK GORDON
HERON and MARY KATHLEEN HERON,
husband and wife,

Defendants.

Plaintiff alleges:

1. Plaintiff Tooth Acres, LLC (“plaintiff”), is a limited liability company, organized
and operating under the laws of the State of Washington. All required fees have been paid to
date, and plaintiff is otherwise competent to bring and maintain this action.

2. Plaintiff Gene Scheel (“Scheel”) is an individual, and the principal of plaintiff.
Scheel does business in the State of Washington.

3. Defendant HoodStock Ranch, LLC (“HoodStock”), is a limited liability company,
organized and operating under the laws of the State of Washington, and doing business in

Klickitat County, State of Washington.

COMPLAINT -1 Heurlin, Potter, Jahn, Leatham, Holtmann & Stoker, P.S.
211 E. McLoughlin Boulevard, Suite 100

PO Box 611

Vancouver, WA 98666-0611

(360) 750-7547

Facsimile: (360) 750-7548
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4. Defendants Mark Gordon Heron and Mary Kathleen Heron (“Herons”) are
husband and wife, the principals of HoodStock, and residents of Hood River County, State of
Oregon.

5. Jurisdiction and venue are proper in this court.

7. Plaintiff and HoodStock entered into a purchase and sale agreement on or about
October 28, 2019, whereby plaintiff was seller and HoodStock was buyer, of certain real
property located in Klickitat County, State of Washington. A true copy of the purchase and sale
agreement is attached as Exhibit A.

8. The purchase price was $1,500,000.00. HoodStock was to pay the entire price, in
cash, at the closing of the transaction. On the date of the closing, however, defendants claimed
they could only pay $1,000,000.00, and insisted that plaintiff accept a $500,000.00 promissory
note for the remainder of the purchase price. Because plaintiff had purchased other property in
reliance on HoodStock’s representation that the full sales price would be paid at closing, plaintiff
had no choice but to accept the promissory note and close.

9. Defendants therefore executed and delivered to plaintiff the promissory note
attached as Exhibit B. The note obligated defendants to pay plaintiff the principal sum of
$500,000.00 within 90 days, plus interest at the rate of 2% per annum, plus an additional loan fee
of $6,000.00.

10. Even before payment was due, plaintiff declared defendants to be in default of
their obligations under the promissory note. A true copy of plaintiff's notice of default, dated
February 25, 2020, is attached as Exhibit C. With that notice, plaintiff accelerated all amounts
owed per the terms of the promissory note and demanded payment on or before March 26, 2020.

11. As of February 25, 2020, the amount due under the note began to accrue interest

at the default rate of 18% per annum.

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12. Defendants failed to pay all of any part of the sums owed under the promissory

note by March 26, 2020. A late fee of 5% of the balance owed therefore also became due.
FIRST CLAIM FOR RELIEF
(Breach of Promissory Note - Plaintiff)

13. Plaintiff realleges the allegations contained paragraphs | through 12.

14. Defendants’ failure to pay the sums owed under the promissory note constitutes a
breach of the promissory note. As the result of defendants’ breach of the promissory note,
plaintiff has been damaged in the principal amount of $506,000.00, plus prejudgment interest at
2% per annum from December 19, 2019, through February 24, 2020, in the amount of $3,521.20,
plus prejudgment interest at 18% per annum from February 25, 2020, to the date of judgment in
the amount of $249.53 per day, plus a contractual late fee of $25,000.00.

15. Pursuant to the terms of the promissory note, plaintiff is entitled to recover
reasonable attorney fees and expenses.

SECOND CLAIM FOR RELIEF
(Breach of Promissory Note — Scheel)

16. Plaintiffs reallege the allegations contained in paragraphs | through 5.

17. On or about December 18, 2019, defendant HoodStock executed a second
promissory note in favor of Scheel, a true copy of which is attached as Exhibit D.

18. The note was in the principal amount of $77,250.00, and was payable on or before
April 20, 2020.

19. | HoodStock has failed and refused to pay any part of the promissory note. The
note is therefore in default.

20. | HoodStock’s failure to pay the sums owed under the promissory note constitutes a

breach of the promissory note. As the result of HoodStock’s breach of the promissory note,

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Scheel has been damaged in the principal amount of $77.250.00, plus prejudgment interest at the
statutory rate of 12% per annum from December 18, 2019 to the date of judgment.
THIRD CLAIM FOR RELIEF
(Fraud)

21. Plaintiffs realleges the allegations contained in paragraphs | through 12.

22. ~ At the time HoodStock entered into the purchase and sale agreement, defendants
had no intention of bringing $1,500,000.00 in cash to the closing of the purchase and sale
transaction.

23. Similarly, defendants never had any intention of paying plaintiff the sums called
for in the first promissory note. Instead, defendants intended that HoodStock would acquire
possession of and title to the subject real property by paying plaintiff only $1,000,000.00.

24. | HoodStock also had no intention to pay Scheel the sum called for in the second
promissory note. Instead, HoodStock intended that HoodStock would acquire possession of and
title to the subject personal property without paying Scheel anything.

25. Plaintiff actually and reasonably relied on HoodStock’s agreements to perform the
purchase and sale in accordance with its terms when it entered into the agreement. Plaintiff also
actually and reasonably relied on defendants’ agreement to pay the promissory note in
accordance with its terms when it agreed to accept the promissory note and close. Scheel also
actually and reasonably relied on HoodStock’s agreement to pay the second promissory note in
accordance with its terms when he agreed to accept the promissory note and transfer possession
of the personal property.

26. Defendants knew that plaintiffs were relying on their agreements and
representations when HoodStock entered into the purchase and sale agreement, when defendants

executed and delivered the promissory note, and when HoodStock executed and delivered the

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second promissory note. Defendants intended that plaintiffs so rely, and intended to defraud
plaintiffs out of their property without paying the agreed price.

27. As the result of defendants’ fraudulent acts, plaintiff has been damaged in the
principal amount of $506,000.00, plus prejudgment interest at 2% per annum from December 19,
2019, through February 24, 2020 in the amount of $3,521.20, plus prejudgment interest at 18%
per annum from February 25, 2020, to the date of judgment in the amount of $249.53 per day,
plus a contractual late fee of $25,000.00.

28. As the result of HoodStock’s breach of the second promissory note, Scheel has
been damaged in the principal amount of $77.250.00, plus prejudgment interest at the statutory
rate of 12% per annum from December 18, 2019 to the date of judgment.

WHEREFORE, plaintiffs pray for the following relief:

1. On its first or third claim for relief, Tooth Acres, LLC prays for a money
judgment against defendants, jointly and severally, in the principal amount of $506,000.00, plus
prejudgment interest at 2% per annum from December 19, 2019, through February 24, 2020, in
the amount of $3,521.20, plus prejudgment interest at 18% per annum from February 25, 2020,
to the date of judgment in the amount of $249.53 per day, plus a contractual late fee of
$25,000.00, plus an award of reasonable attorney fees per the terms of the purchase and sale
agreement and the promissory note;

2. On his second or third claim for relief, Scheel prays for a money judgment against
defendant HoodStock in the principal amount of $77.250.00, plus prejudgment interest at the

statutory rate of 12% per annum from December 18, 2019 to the date of judgment

3. For their costs and expenses incurred herein; and
4, For such other and further relief as the Court may deem just and proper.
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COMPLAINT —5 Heurlin, Potter, Jahn, Leatham, Holtmann & Stoker, P.S.
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DATED this [ day of May, 2020.

HEURLIN, POTTER, JAHN, LEATHAM,
HOLTMANN & STOKER, P.S.

 

Stephen G. Leatham, WSBA #15572
Of Attorneys for Plaintiffs

COMPLAINT -6 Heurlin, Potter, Jahn, Leatham, Holtmann & Stoker, P.S.
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COMMERCIAL ASSOCIATION OF REALTORS OREGON/SW WASHINGTON
PURCHASE AND SALE AGREEMENT AND RECEIPT FOR EARNEST MONEY
(Oregon-Commercial Form)
. Dated: fORF Zl/9.
BETWEEN: — 7207 ELK ES , LLC (Seller)

Address: VUOVE SE ftiltt. LUN CID SUYTE SOL
VANCOUVER, WA PEL AF

ano: MOODSTOCK. AMY, Le Buyer"

 

Address: l71é_&.. JEETT GLVvE fixe 2290
WITE SELIM OM. WAP ATV EZ

Buyer agrees to buy and acquire and Seller agrees to sell, assign and convey on the
following terms: (i) the real property and  all~ improvements thereon commas Say" as

Lb fe ROtCR  7RibT. LAKE, ble
LAL CEL & and located at
LDL OAT WED in the

Gayot 7ZIUT County of ZO/ZE7ZE7_
legally described on Exhibit A attached hereto (the “Property”). If na legal description is attached, Buyer
and Seller will attach a legal description upon receipt and reasonable approval by both parties of the
Prefiminary Commitment or, if applicable, the Survey, and if appiicable (i) all of Seller's right, title and
interest In and to certain lease's) by which the Property is demised as described on Exhibit B attached
hereto. As partial consideration for the assignment of the Lease(s) fo Buyer, at the Closing (@s defined in
Section 7 hereof) Buyer shall assume aif of the obligations of the Lessor under the Lease(s) which first
accrue on or after the Closing Date (as defined in said Seciion 7). The parties shall accomplish such
assignment and assumption by executing and delivering to each other through Escrow an Assignment of
Lessor's Interest Under Lease substantially in the form of Exhibit C attached hereto (the “Assignment’)

 

 

The occupancy of the Property by said Lessee(s) are hereinafter sometimes referred to as the "Tenancies".

4 Purchase Price. Lo CY, L Li Van
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dollars ($ _) tthe Pure (the Purchase yy, as folews:
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1.4 Eamest Money Deposit. Upon execution of this Agreement Buyer shail deliver

to the Escrow Holder as defined herein, for the account of the Buyer $ Lo as eamest

money (the “Eamest Money”) in the form of cash of check or _£—promissory note (the
"Note’). If the Eamest Money is in the form of a check being held undeposited by the __ Listing __

Exhibit A
Page 1 of 8
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Selling Firm, it shall be deposited no tater than 5 PM Pacific Tire three days after execution of the
Agreement by Buyer and Seller in the __ Listing __ Selling Firm's Clients’ Trust Account +t the
Escrow. If the Earnest Money is in the form ofthe Note, it shall be due and payable no tater than 5 PM
Pacific Time one day after }-@xecution of the Agreement by Buyer and Seller or __ satisfaction or
waiver by Buyer of the conditions to Buyer's obligation t purchase the Property set forth in this

 

"Agreement or __ at Closing or __ Other:
if he Note or

check is not redeemed and paid in full when due, then (i} the Note or check shall be delivered and
endorsed to Seller (if not already in Seller's possession), (ii) Seller may collect the Eamest Money from
Buyer, either pursuant to an action on the Note or an action on this Agreement and (if) this Agreement
shall be of no further force or effect. The purchase and sale of the Property shall be sccormplished
throvah Lescrow (the "Escrow"} which Seller has established er will establish with

ET” CE FITCE. {the Title Company”) and the Earnest Money shall be
“deposited with __ Title Company or/_ Other: The Farmest
Money shall be appfied to the payment of the purchase price for the Property at Closing. Any interest
gamed on the Eamest Money shail be considered to be part of the Eamest Money. The Earnest Money

  
 

"shall be returned to the Buyer in the eventany condition to Buyer's obligation to purchase the Property shall

fail to be satisfied or waived through no fault of Buyer.

 

 

 

2 Conditions to Purchase. Buyers obligation to purchase the Property is conditioned on the
following:_ngne and/or __ LE YET BUYER, SILIELALL TLS
andor _ Buyer's approval

 

 

of the results of its Properly inspettion described in Section 3 below. {f Buyer has not given written
waiver of these conditions, or stated in writing that these. conditions have been satisfied, by written
notice given to Seller within 30 days after the [Execution Date (defined below),
the Agreement shalt be deemed automatically terminated, the Eamest Money shall be promptly retumed
ta Buyer, and thereafter, except as specifically provided to the contrary herein, nejiher party shall have

any further right or remedy hereunder.

3 P In fon. Seller shal! permit Buyer and its agents, at Buyer's sole expense and
risk, to enter the Property, at reasonable times after reasonable pricr notice to Seller and after prior
notice to the tenants of the Property as required by the tenant's leases, fo conduct any and all Inspections,
tests, and surveys conceming the structural condition of the improvements, all mechanical, electricat and
plumbing systems, hazardous materials, pest infestation, soils condifions, wetlands, American with
Disabilities Act compliance, and all other matters affecting the suitability of the Property for Buyer's
intended use and/or otherwise reasonable related to the purchase of the Property, including the economic
feasibility of such purchase, Guyer shall indemnify, hold hanniess, and defend Seller from afl liens,
costs, and expenses, includmg reasonable attomeys' fees and experts’ fees, arising from or relating to
Buyers entry on and [inspection of the Property. This agreement to indemnify, hold harmless, and defend
Seller shall survive closing or any termination of this Agreement.

Exhibit A
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Case 1:20-cv-03091-TOR ECF No. 1-2 filed 06/25/20 PagelD.18 Page 9 of 21

4 Setters Documents. Within 4 days after the Execution Date, Seller shall deliver
fo Buyer, at Buyer's address shown below, legible and complete copies of the following documents and
other items relating to the ownership, operation, and maintenance of the Property, to the extent now jn
existence and to the extent such items are within , Setler's possession or

 

 

. control: (IRLST OG REPORT, Wilh. REPEL
§ Title Insurance. Within 5. days after the Execution Date, Sefer

shalt deliver to Buyer a preliminary title report from the Title Company (the “Preliminary
Commitment), together with complete and legible copies of ail documenis shown therein

as exceptions to title, showing the status of Seller's title to the Properly, Buyer shall have

after receipt of a copy of the Preliminary Commitment within which to give notice in writing to Seller of
any objection to such title or to any liens or encumbrances affecting the Property. Within
days after the date of such notice from Buyer, Seller shall give Buyer written notice of whether it is

willing and able to remove the objected-to exceptions. Within we] days after fhe date of

. : ‘such notice from Seller, Buyer shal! elect whether to (i) purchase the Property subject to those objected-to
"exceptions which Seller is not willing or able to remove or (ji) terminate this Agreement.
' On or before the Closing Date (defined below), Seller shall remove ail exceptions to which

Buyer objects and which Seller agrees Seller is wiling and able to remove. All remaining exceptions set
forth in the Preliminary Commitment and agreed to by Buyer shall be deemed "Permitted Exceptions".
The titte insurance policy fo be delivered by Seller to Buyer af closing shall contain no exceptions other
than the Penmitted Exceptions and fhe uSua!l preprinted excepfions contained in an owner's standard

form fife insurance policy.

6 Default Remedies. [ifthe conditions, if any, to Buyer's obligation io close this transaction
are satisfied or waived by Buyer and Buyer nevertheless fails, through no fault of Selter, to close the
purchase of the Property, Seller's sole remedy shall be to retain the Earnest Money paid by Buyer. In the
event Seller fails, through no fault of Buyer, to close the sale of the property, Buyer shalt be entitled to

. pursue any remedies available at law or in equity, indluding without limitation, the remedy of

7 — Closing of Sale The sale shall be closed _ on or before 4 S5, L0/

or days after Execution Date (the "Closing Date") in escrow at ihe Tite Company.
The Sale shall be deemed “closed” when the document conveying title to the Property is recorded and the
Purchase Price (increased or decreased, as the case may be, by the net amount of credits and debits to
Seller's account at Closing made by the Escrow Holder pursuant to the terms of this Agreement) is
disbursed to Seller. At Closing, Buyer and Seller shall deposit with the Tite Company all documents
and funds required to close the transaction in accordance with the terms of this Agreement At Closing,
Seller shall defiver 4 certification in a form approved by Buyer that Seller is not a “foreign person”

‘a8 such term is defined in the Internal Revenue Code and the Treasury Reguiations

promulgated under ihe intemal Revenue Code, if Seller is a foreign person and this transaction Is not
otherwise exempt from FIRPTA regulation, the Title Company shall be instructed by the parties to
withhold and pay the amount required by jaw to the Internal AP aa Service, At Closing, Seller shall
convey fee simple file to the Property to Buyer hy statutory warranty deed or __
{the “Deed"), If this Agreement provides for the

 

conveyance by Seller of a vendee's interest in the Property by & contract of sale, Seller shail deposit with
the Tithe Company (or other mutually acceptable escrow) the executed and acknowledged Deed, together

| Exhibit A
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with written instructions fo deliver such deed to Buyer upon payment in full of the purchase
price. At Closing, Seller shall pay for and deliver to Buyer a standard form owners polity of title
insurance (the “Policy") in the amount of the Purchase Price insuring fee simple title to the Property in

‘ Buyer subject. only to the Permitted Exceptions and the standard preprinted exceptions contained in a
_ standard form policy.

B Glosing Costs, Prorates. Selfer shalt pay the premium for the Policy. Sellerand Buyer
shall each pay one-half of the escrow fees charged by the Title Company, any excise tax, and any

-fransfer tex. Real Property taxes for the tax year in which the transaction is closed, assessments (if a

Permitted Exception), personal property taxes, rents on existing tenancies paid for the month of Closing,
interest on assumed obligations, and utilities shail be prorated as of the Closing Date. Prepaid rertts,
security deposits, and other uneamed refundable deposits regarding the Tenancies shall be assigned and
delivered to Buyer at Closing, Seller a Buyer __. N/A shall be responsible for payment of taxes
interest, and penaities, if any, upon removal of the Property from any special assessment or program.

9 Possession. Buyer shall be entitled to exclusive ession of the Property, subject to the
Tenancies existing as of the Glosing Daten, t& on the Closing Date or

10 Condition of Property, Seller represents that, fo the best of Sellers knowledge withaut
specific inquiry, Sefer has received no written notices of violation of any laws, codes, mules, or
regulations applicable fo the Property ("Laws'), and Seller is not aware of any such violations or any
concealed material defects in the Property which cost more than $ 32 to repair or correct. Risk
of loss or damage to the Property shall be Seller's until Closing and Guyer's at and after Closing. Na
agent of Sefler nor any agent of Buyer has made any representations regarding the Propetty. The real
estate licensees named in this Agreement have made no representation to any party regarding the
condition of the Property, the operations on or income from the Property, the Tenancies, or whether the
Property or the use thereof complies with Laws. Except for Selley's representations set jorth in this
Section 11, Buyer shalt acquire the Property “AS 1S” with all faults and Buyer shalt rely on the results of
its own inspection and investigation in Buyer's acquisition of the Properly. It shall be a condition of
Buyers obligation to close, and of Seller's right to retain the Eamest Money as of Closing that ail of the

. Setiers representations and warranties stated in this Agreement are rnaterially true and correct on the
Closing Date. Sellers representations and warranties stated in this Agreement shall survive Closing for

one (ty year.

11 Personal. Property. This sale includes the following personal property: __
GE ADDN AA-L or __ the personal

property located on and used in commission with the Property and owned by Seller which Seller shall
itemize in a schedule. Seller shalt deliver te Buyer such schedule within days after the
Execution Date. Seler shall convey all personal property owned by Seller on or in the Properly to Buyer
by executing and delivering to Buyer through Escrow a ill of Sale substantially im the form of

Exhibit D attached hereto (the “Bill of Sale’).

42 Agency Disclosure. ‘The following agency relationship(s) in this transaction is (are)
hereby consented to and acknowledged:

Exhibit A

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‘the in-compary agreement.

" fimnited dual agency relationship pursuant to

-PRACTIGES AS DEFINED IN ORS 30.930

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(a) (selling reat estate licensee)is the agent of
(checkone) __ Buyer exclusively as an agent of Buyer, __ Seller exclusively as a ent of Seller;
both Selfer and Buyer as set out in the incompany agreement

{b) —_— (listing agent ff riot the same as selling agert) is
the agent of (check one): Seller exclusively as Sellers agen “both Seller and Buyer as set ovt in

    
    
    

_ (real estate licensee) both Seller and Buyer in a
rate agreement.

(c)

 

 

 

 

ACKNOWLEDGED
Dated:
Dated: Designated
Dated: Broker(s)
Dated: Initials

 

13 Notices. Uniess otherwise specified, any notice required or permitted in, or related to, this
Agreement must be In writing and signed by the parly fo be bound. Any notice or payment will be
deemed given when personally defivered or defvered by facsimile transmission (with electronic

" confirmation of delivery), or wil be deemed given on the day folfowing delivery of. the notice by

reputable ovemight courier or three (3) days after mailing in the U.S. mails, postage prepaid, by the
applicable party to the address of the other party shown in this Agreement, unless that day is a Saturday,

‘Sunday, or legal holiday, in which event it will be deemed delivered on the next following business day.

If the deadline under this Agreement for delivery of a notice or payment is a Saturday, Sunday, or legal
holiday, such last day will be deemed extended to the next following business day.

14 Assignment. Buyer «Thay assign __ may not assign __ may assign, if the assignee is
an enfity owned and controlled by Buyer (may not assign, if no box is checked) this Agreement or
Buyer's rights under this Agreement without Seller's prior written consent If Seller's consent is required
for assignment, such consent may be withheld in Sellers sole discretion.

18 Attomey's Fees. in the event a suit, action, arbitration, or other proceeding of any nature
whatsoever, including without {imitation any proceeding under the U.S. Bankruptcy Code, is instituted,
or the services of any attorney are retained, to inferpret or enforce any provision of this Agreement or with
respect to any dispute relating to this Agreement, the prevailing party shail be entitled to recover from
the losing party its attomeys' paralegats’, accountants’, and other experis' fees and all other fees, costs,
and “expenses actually incurred and reasonably necessary in connection therewith. In the event of suit,
action , arbitration, or other proceeding, the amount thereof shall be determined by the judge or arbitrator,
shall include fees and expenses incurred on any appeal or review, and shall be in addition to all other

amounts provided by taw.

16 Statutory Land Use Disclaimer, THE PROPERTY DESCRIBED IN THIS
INSTRUMENT MAY ‘NOT BE WITHIN A FIRE PROTECTION DISTRICT PROTECTING

STRUCTURES. THE PROPERTY IS SUBJECT TO LAND USE. LAWS AND REGULATIONS,
WHICH, IN FARM AND FOREST ZONES, MAY NOT AUTHORIZE CONSTRUCTION OR SITING

OF A RESIDENCE AND WHICH LIMIT LAWSUITS AGAINST FARMING OR FOREST
IN ALL ZONES. BEFORE SIGNING OR ACCEPTING

Exhibit A

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any signed document including this Agreernent shall be the same as delivery of an original.

“computed in accordance with the listing agreement or other commission

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THIS INSTRUMENT, THE PERSON ACQUIRING FEE TITLE TQ THE PROPERTY SHOULD CHECK
WITH THE APPROPRIATE CITY OR COUNTY PLANNING DEPARTMENT TO VERIFY
APPROVED USES AND THE EXISTENCE OF FIRE PROTECTION FOR STRUCTURES.

17 Miscellaneous. Time is of the essence of this Agreement The facsimile transmission of
At the
request of either party, the party delivering a document by facsimile will confirn facsimie transmission
by signing and delivering a duplicate original document This Agreement may be executed in twa or
more counterparts, ‘gach of which shall constitute an original and all of which together shall constitute -

 

‘ one and the same Agreement, This Agreement contains the entire agreement and understanding of the
‘pares with respect to the subject matter of this Agreement and supersedes ail prior and

contemporaneous agreements between ‘them with respect thereto. Without limiting the provisions of
Section 15 of this Agreement, this Agreement shall be binding upon. and shail inure to the benefit of the
parties and their respective successors and assigns. The person signing this Agreement on behalf of
Buyer and the person signing this Agreement on behalf of Seller each represents, covenants and warrants
that such person has full right and authority to enter into this Agreement and to bind the party for whom
such person signs this Agreement to the terms and provisions of this Agreement. This Agreement shalt

... not be recorded untess the parties otherwise agree.

18 Addendums: Exhibits. The following named addendums and exhibits are attached to this
Agreement and incorporated within this Agreement | none or — HAAZPVA AZ

 

Time for Acca Seller has unti 600 pm Pacific Time on
/ L- ” 50. Z0/9 accept this offer, Acceptance is not effective until a copy of this
Agreement which has been signed and dated by Seller is actually received by Buyer. If this offer is not

‘ so accepted, it shall expire and the Earmest Money shall be promptly réfunded to Buyer and thereafter

nether party shall have any further right or remedy against the other.

 
   
 

. 20 Seller's Br e ent Seller agrees to sell the Pro j_on the
‘terms and conditions in this Agreement and further agrees fo pay a commission in th amount
reement dated

between Selter and if there

 

‘js no written listing agreement or other commission eorement Seller agrees to pay a

%) of the purchase price
$ . Seller and agree that
is Agreement is signed by Seller and Buyer. Unless
otherwise provided in a separate written ent, the real estate commission is due on the Closing
Date or upon Sellers breach of thi greement, whichever occurs first If the Eamest Money is forfeited
and retained by Seller in nce with this Agreement, in addition to any other tights the Listing
ing Agent shall be entitled up to fifty percent (50%) of the Eamest Money, not

commission of
or
the commission is deemed eamed as of the

    
     
   
 
 
  

‘f exceed any ag commission, and Seller hereby assigns to the lsfing agent such amount.

Execution Date. The Execution Date is the later of the two dates shown beneath the
signatures below.

22 Governing Law, This agreement is made and executed under, and in all respects shail be
govermed and construed by the laws of the State of Oregon.

Exhibit A

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. Case 1:20-cv-03091-TOR ECF No. 1-2 filed 06/25/20 PagelD.22 Page 13 of 21

CONSULT YOUR ATTORNEY. THIS DOCUMENT HAS BEEN PREPARED FOR SUBMISSION
TO YOUR ATTORNEY FOR REVIEW AND APPROVAL PRIOR TO SIGNING. NO
REPRESENTATION OR RECOMMENDATION Is MADE BY THE REAL ESTATE
UCENSEES INVOLVED WITH THIS DOCUMENT | AS TO THE LEGAL

: SUFFICIENCY OR TAX CONSEQUENCES OF THIS DOCUMENT.

“THIS FORM SHOULD NOT 8E MODIFIED WITHOUT SHOWING SUCH MODIFICATIONS BY
. REDLUNING, INSERTION MARKS, OR ADDENDA,

. "buyer 7a te Ketel, ML Seller:

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By et By
/ Title

Execution Date / Execution bate

Time of Execution Zz "GO Time of Execution

Home Phone (Fk, ) £46. 59 Home Phone

Office Phone Office Phone

Address Address

Fax No. Fax No.
:. E-mail KAT. PRETO ROLF R LUETEI ES E-mail

 

OLLI. COEF.

Broker's approval

 

Exhibit A
Page 7 of 8.

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, Case 1:20-cv-03091-TOR ECF No. 1-2 filed 06/25/20 PagelD.23 Page 14 of 21

ADDENDUM TO REAL ESTATE SALE AGREEMENT

 

 

 

This is an Addendum to: _/Real Estate Sale Agreement __ Sellers Counter Offer Buyer's C ;
Re: Reat Estate Sale Agreement No. Q2287YF Dated /2<2-/9 Addendum No. our, if oe 5
Buyer: AOLISTOCK RANE, al. A
Seller: LUD ZALES ¢ LEC. 6
The real property described as: ACT £6 KEL Fei LAKE, DLA F9@SO 4

 

 

 

SELLER AND BUYER HEREBY AGREE THE FOLLOWING SHALL BE A PART OF THE REAL ESTATE SALE 8 .
AGREEMENT REFERENCED ABOVE. 9

LUYLK NSE (LR AGREE 10 LETERIYE NY, FEREDIEL

 

 

 

 

 

 

 

 

  
 
 

 

 

   
 

 

 

 

  

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Buyer Signature
Buyer Signature

 

 

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— Date __ AM. PM. 39

Seller Signature 4 Date __AM. P.M. 40

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‘Tistng Licenses Salling Licansee At
Listing Firm Broker Initials/Date Selling Firm Broker Initiais/Date 42

 

 

Addendum Page ___ of ___ Pages 43

Exhibit A
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. Case 1:20-cv-03091-TOR ECFNo. 1-2 filed 06/25/20 PagelD.24 Page 15 of 21

PROMISSORY NOTE

$500 000.00 _ December 19, 2019

Date

Goldendale WA

 

City, State

FOR VALUE RECEIVED, HoodStock Ranch, LLC, a Washington Limited Liability Company; and

Mark Gordon Heron and Mary Kathleen Heron, husband and wife, together hereinafter "Maker"

promises to pay to Tooth Acres, LLC, a Washington Limited Liability Company hereinafter "Holder"

or order at 11818 SE Mill Plain Blvd #106 Vancouver WA 98684

or other such place as may be designated by the Holder fiom time to time, the principal sum of Five Hundred
Thousand and no/100 Dollars ($500,000.00), with interest thereon from 19th day of December, 2019.

on the unpaid principal at the rate of Two percent (2.0%) per annum as follows:

1. INSTALLMENT PAYMENTS: Maker shall pay no installment payments.

2, DUE DATE: The entire balance of this Note together with any and all interest accrued thereon shall be due and
payable in full no later than 90 days from closing.

3. DEFAULT INTEREST: After maturity, or failure to make any payment, any unpaid principal shall accrue
interest at the rate of 18% per annum OR the maximum sate allowed by law, whichever is less, during such
period of Maker's default under this Note.

4, ALLOCATION OF PAYMENTS: Each payment shall be credited first to any late charge due, second to
interest and the remainder to principal.

5. PREPAYMENT: Maker may prepay all or part of the balance owed under this Note at any time without
penalty. .

6. CURRENCY: All principal and mterest payments shall be made m lawful money of the United States.

7. LATE CHARGE: If Holder receives any portion of payment more than fifteen (15) days after its due date,
then a late payment charge of five (5) percent shall be added to the scheduled payment.

8. DUE ON SALE: (OPTIONAL-Not applicable unless mitialed by Holder and Maker to this Note) If this
Note is secured by a Deed of Trust or any other instrument securing repayment of this Note, the
property described in such security instruments may not be sold or transfened without the Holder's
consent. Upon breach of this provision, Holder may deciare all sums due under this Note immediately due and
payable, unless prohibited by applicable law.

Maker (Initials) Maker (initials) Holder (initials)

Page 4 of 7

Exhibit B
Page 1 of 4
. Case 1:20-cv-03091-TOR ECFNo. 1-2. filed 06/25/20 PagelD.25 Page 16 of 21

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ACCELERATION: If Maker fails to make any payment owed under this Note, or if Maker defaults under any
Deed of Trust or any other instruments securing repayment of this Note, and such default is not cured within
thirty (30) days after written notice of such default, then Holder may, at its option, declare all outstanding sums
owed on this Note to be immediately due and payable, in addition to amy other rights or remedies that Holder
may have under the Deed of Trust or other instruments securing repayment of this Note.

ATTORNEYS' FEES AND COSTS: Maker shall pay all costs incurred by Holder in collecting sums due
under this Note after a default, including reasonable attorneys’ fees, whether or not suit is brought including but
not limited to those incurred in mediation, arbitration, litigation, bankruptcy and appeal. If Maker or Holder sues
to enforce this Note or obtain a declaration of its rights hereunder, the prevailing party in any such proceeding
shall be entitled to recover its reasonable attorneys’ fees and costs incurred in the proceedings including but
not limited to those incurred in mediation, arbitration, litigation, bankruptcy and appeal.

WAIVER OF PRESENTMENTS: Maker waives presentment for payment, notice of dishonor, protest and
notice of protest.

NON-WAIVER: No failure or delay by Holder in exercismg Holder's rights under this Note shall be a waiver
of such rights.

SEVERABILITY: If any clause or any other portion of this Note shall be determined to be void or
unenforceable for any reason, such determination shall not affect the validity or enforceability of any other
clause or portion of this Note, all of which shall remain in full force and effect.

INTEGRATION: There are no verbal or other agreements which modify or affect the terms of this Note. This
Note may not be modified or amended except by written agreement signed by Maker and Holder.

CONFLICTING TERMS: In the event of any conflict between the terms of this Note and the terms of any
Deed of Trust or other instruments securing payment of this Note, the terms of this Note shall prevail.

EXECUTION: Each Maker executes this Note-as a principal and not as a surety. If there is more than one
Maker, each such Maker shall be jointly and severally liable under this Note.

COMMERCIAL PROPERTY: (OPTIONAL-Not applicable unless initialed by Holder and Maker to this
Note) Maker represents and warrants to Holder that the sums represented by this Note are being used for
business, investment or commercial purposes, and not for personal, family or household purposes.

Maker (Initials) Maker ) Holder (initials)

ORAL AGREEMENTS: ORAL AGREEMENTS OR ORAL COMMITMENTS TO LOAN MONEY, TO
EXTEND CREDIT, OR TO FOREBEAR FROM ENFORCING REPAYMENT OF A DEBT ARE NOT
ENFORCEABLE UNDER WASHINGTON LAW.

DEFINITIONS: The word Maker shall be construed interchangeably with the words Borrower or Payer and
the word Holder shali be construed interchangeably with the words Lender or Payee. In this Note, singular and
plural words shall be construed interchangeably as may be appropriate in the context and circumstances to
which such words apply.

ADDITIONAL TERMS AND CONDITIONS: As set forth on the attached "Exhibit A" which is

Page 5 of 7

Exhibit B
Page 2 of 4
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incorporated by this reference.

20. THIS NOTE IS SECURED BY 2™ POSITION DEED OF TRUST OF EVEN DATE.

Maker (signatures)

HoodStock Te LLC HoodStock Ranch, LLC

By Mark Gordon Heron. Managing Member By Mary K&thleen Heron. Managing Member

LE —— i

Mark Gordon Heron, personally Mary Kathigen Hekon, personally

 

  
  
  

 

 

Maker's address for all notices given by Holder under this Note: 1749 22"d Sirset, Hood River. OR 97031

 

DO NOT DESTROY THIS NOTE

WHEN PAID this original Note together with the Deed of Trust securing the same, must be surrendered to the
Trustee for cancellation and retention before any reconveyance can be processed.

Page 6 of 7

Exhibit B
Page 3 of 4

 
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EXHIBIT A TO PROMISSORY NOTE
In addition to the principal and interest balloon payment due no later than 90 days from the closing date, Maker also
agrees to pay to Holder an additional fee of Six Thousand and no/00 dollars. This additional fee shall have the
same due date as the aforementioned balloon payment

HoodStock LLC HoodStock Ranch, LLC

  

 

By Mark Gordon Heron. Managing Member
Mark Gordon Heron, personally Mary ean personally

 

Page 7 of 7

Exhibit B
Page 4 of 4
Case 1:20-cv-03091-TOR ECFNo. 1-2 filed 06/25/20 PagelID.28 Page 19 of 21

*

 

Thomas B. Eriksen

 

Two je Dr., 6" Floor
Lake Oeeeponnn x. Admitted in Oregon and Washington
Tet. (503) 598-7070 OR Direct Diel: (503) 598-5590
Fax (503) 598-7373 WA Direct Diat: (360) 567-3903
www Jordanremls.com

February 25, 2020

VIA EMAIL, FIRST CLASS MAIL, AND

CERTIFIED MAIL RETURN RECEIPT REQUESTED

Hoodstock Ranch LLC Mark G. Heron

176 E. Jewett Bivd Mary Kathleen Heron

White Salmon WA 98672 1749 22nd Street

Hood River OR 97031

Re: Tooth Acres, LLC/Hoodstock Ranch LLC - NOTICE OF DEFAULT
December 19, 2019 Second Position Deed of Trust
Our File No. 46918-73583

Dear Mr. and Mrs. Heron:
Note dated

This office represents Tooth Acres, LLC in connection with that certain
Decamber 19, 2019 wherein Hoodstock Ranch LLC and Mark Gorden Heron and Mary Kathleen
Heron, husband and wife, are the makers and Tooth Acres, LLC Is the holder and that certain Second
Position Deed of Trust dated December 19, 2019 wherein Hoodstock Ranch LLC ts the grantor and
Tooth Acres, LLC is the beneficiary.

Notice is hereby given that you are in default under the terms of the Second Position Deed of
Trust due to your failure to provide for the beneficiary to be the frst loss payee under the fire
Insurance policy covering the property as required by Section 3 of the Second Position Deed of Trust.

Pursuant to Section 9 of the Promissory Note, all amounts due under the Promissory Note, including
principal and accrued interest, are hereby accelerated and are now due and payable 30 days from the

date of this letter.
Failure to pay the full amount due under the terms of the Promissory Note on or before March 26,
2020 wit! result in a foreclosure and collection action being filed against you.

This is an attempt to collect a debt. Any information obtained will be used for that purpose.

Very Truly Yours,
TAA 3L
Thomas B. Eriksen
cc: Tooth Acres, LLC
46016-73584 4628-7252-65168.1
| Vancouver, Washington | Bend, Oregon

Lake Oswego, Oregon

Exhibit C
Page 1 of 1

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.~ Case 1:20-cv-03091-TOR ECFNo. 1-2 filed 06/25/20 PagelD.29 Page 20 of 21

WASHINGTON PROMISSORY NOTE

Pursuant to WA ST 19.52.020

    
 

OR VALUE RECEIVED, (“Borrower”) promises to Byte
BE CLYEZZ__(“Lender” ey, S$ LZ. £50) in
principal, plus interest at a rate of © arhuaily on the tinpaid balan as Set forth
herein.
1. PAYMENT TERMS (Choose one):
(1 - Borrower shall make ____ payments in the amount of
Dollars {$ } per (month/year) on 20

 

(Borrower shall make _/_ payments inthe amount of _7 7 _<. 507
Dollars ($ 77£50 } per (month/year) and a final payment in the amount of
Dollars ($ Jon ,20___.

(8 Borrower shall pay alump sum on taf LE , 2022
2. TERM: The term of this Loan is from 7 AE: Lil F to  *%40O-220

3. PREPAYMENT: Borrower may prepay the loan without any penalty.

4, PAYMENT APPLICATION: All payments shall first be applied to interest and then to
principal.

5. SECURITY (Choose one):
(1 - This note shall be secured by a (mortgage /deed of trust) on Borrower's
premises located at until the note is paid in
full

This note shall be secured by a UCC-1 Financing statement and security
agreement giving Lender a secured interest in Borrower's equipment, fixtures,
inventory and accounts receivable of__._—=== {Borrower's
business) until the note is paid in full.

CJ - This note is unsecured.

GEER TO RRS AS COA TERAL CLV ROPER TY
LUATED AT 267 bt RD, TROUT Cte, WE F6650
6. ACCELERATION: Lender may require Borrower to pay the entire balance of the
unpaid principal and accrued interest immediately if the Borrower is more than
____ days late in making a payment
SE ATittt€) DECILES ST OF Biv OHIENT

Nothing herein shall be considered legal advice. You are encouraged to seek legal advice froman
attorney licensed to practice in your jurisdiction before using this form.

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Exhibit D
Page 1 of 2
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Addendum Page ____of___ Pages 43

Exhibit D

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